                                                                         Motion DENIED.



                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


EIGHT MILE STYLE, LLC; MARTIN
AFFILIATED, LLC,
                                                    Civil Action No. 19-cv-00736
      Plaintiffs,

                                                    District Judge Aleta A. Trauger
vs.

                                                    MOTION FOR RECONSIDERATION OF
SPOTIFY USA INC.; HARRY FOX AGENCY,                 ORDER GRANTING MOTION FOR LEAVE
LLC,                                                TO FILE AMICUS CURIAE MEMORANDUM


      Defendants.


                                                    JURY DEMAND
SPOTIFY USA INC.,
      Third-Party Plaintiff,


vs.


KOBALT MUSIC PUBLISHING AMERICA,
INC.,


      Third-Party Defendant.




                                                1

Case 3:19-cv-00736             Document 488   Filed 02/08/24   Page 1 of 2 PageID #: 40485
       Pursuant to Federal Rule of Civil Procedure 60(b), Plaintiffs Eight Mile Style, LLC and

Martin Affiliated, LLC (collectively, “Eight Mile Style”) respectfully move this Honorable Court

to reconsider its granting of the Motion for Leave to File Amicus Curiae Memorandum of Law in

Support of Defendant Spotify USA Inc.’s Opposition to Plaintiffs’ Motion for Summary

Judgement filed by third-party Digital Media Association (“DIMA”) (Doc. No. 469, Granted at

Doc. No. 470). In support of this motion, Eight Mile Style states as follows:

       1.      DIMA filed its motion for leave to file its brief on Friday evening January 19, 2024.

In its Local Rule 7.01 Certification, it used the confusingly phrased statement (with emphasis

added):

       In Compliance with Local Rule 7.01(a)(1), counsel for Digital Media Association
       has conferred with counsel for all Parties in this action. All Parties, including the
       United States, consent to the relief requested, except for Plaintiffs, who have
       indicated that they plan to object.

       2.      Although DIMA’s Rule 7.01(a)(1) statement did accurately reflect Plaintiffs’

objection, it began the phrase as “All Parties, including the United States consent to the relief

requested…”

       3.      On Sunday evening, January 21, counsel for Eight Mile Style emailed Your

Honor’s Chambers to advise that Eight Mile Style planned to file its objections to DIMA’s motion

for leave no later than Wednesday January 24. See Ex. 6. Eight Mile Stile, of course, does not

know whether the Court was aware of Counsel’s email when the Court granted DIMA’s Motion

just one-half business day later on Monday January 22, 2024.

       4.      As explained in greater detail in the memorandum of law filed simultaneously

herewith, Spotify is one of only six (6) members of DIMA, and through much of 2023, a senior

executive of Spotify sat on the DIMA Board of Directors. DIMA is essentially one and the same




                                                 2

Case 3:19-cv-00736        Document 488        Filed 02/08/24      Page 2 of 2 PageID #: 40486
